
306 P.2d 121 (1957)
Sol GERSHENHORN and D. H. CAPLOW, Appellants,
v.
WALTER R. STUTZ ENTERPRISES, a limited partnership, Walter R. Stutz and Louis Stutz, Respondents.
No. 3981.
Supreme Court of Nevada.
January 29, 1957.
Harry E. Claiborne, Las Vegas, Alvin Gershenson, Chicago, Ill., for appellants.
Morse, Graves &amp; Compton, W. Bruce Beckley, Las Vegas, for respondents.
PER CURIAM.
With increasing frequency counsel seem to be confusing the function of a petition for rehearing with the rehearing itself. In this case a "petition" of 34 pages has been filed by the appellants which, upon patient reading, is discovered to be in substance a reargument of the appeal. For this reason, rehearing is denied.
We deem this an appropriate occasion to point out to the members of the bar that argument upon the merits is out of place in a petition for rehearing. The petition asks leave to argue and should, therefore, confine itself to a statement of the points upon which the right to present argument and authority is sought. See "Rehearing In American Appellate Courts", 44 Cal. Law Review 627. At Page 658 of the cited article it is stated, (referring to the petition), "It should be brief and it should not be argumentative; it should point to the conflict created [by] or the `controlling' matter overlooked in the original decision. It should not be expected to also serve the role of persuading the court how the conflict or error should be resolved. That is the object of resubmission. The object of the petition is only to show that the petitioner is entitled to a rehearing, not that he is entitled to a different decision on the merits."
